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                 EXHIBIT A
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                                List of Materials Relied Upon

The following is a list of materials I relied upon in forming my opinions and writing my expert
report:

•      U.S. Patent No. 8,074,172 ("the '172 patent")
•      '172 Patent File History
•      U.S. Patent No. 7,957,955 to Christie et al.
•      Declaration of Dr. Karan Singh Regarding U.S. Patent No. 8,074,172 and Exhibits
       thereto
•      Declaration of Ken Wakasa
•      Deposition Transcript (4/13/12) of Kenneth Kocienda
•      Deposition Transcript (4/18/12) of Dr. Karan Singh
•      Deposition Transcript (4/20/12) of Greg Christie
•      U.S. Patent Publication No. 2006/0274051 to Longe et al.
•      U.S. Patent No. 6,801,190 to Robinson et al.
•      U.S. Patent No. 5,953,541 to King et al.
•      TextPlusTM for the Palm OS Version 5.5 Users Guide (Aug. 31, 2004)
•      Comparison of three leading text completion software (Nov. 12, 1999),
       http://www.deepwave.net/articles/palm/palm_textcomp/
•      Jacob Wobbrock & Brad Myers, From Letters to Words: Efficient Stroke-based Word
       Completion for Trackball Text Entry, Assets '06 (Oct. 2006)
•      TOSHIBA Pocket PC e570 Instruction Manual, 1st Ed. (Sept. 2001)
•      U.S. Patent Publication No. 2005/0188330 to Griffin
•      U.S. Patent Publication No. 2005/0192802 to Robinson et al.
•      U.S. Patent Publication No. 2005/0283358 to Stephanick et al.
•      U.S. Patent Publication No. 2006/0063558 to Scott
•      U.S. Patent Publication No. 2006/0149551 to Ganong, III et al.
•      U.S. Patent Publication No. 2006/0167676 to Plumb
•      U.S. Patent Publication No. 2006/0176283 to Suraqui
•      U.S. Patent Publication No. 2006/0206815 to Pathiyal et al.
•      U.S. Patent Publication No. 2006/0269138 to Williamson et al.
•      U.S. Patent No. 5,623,406 to Ichbiah
•      U.S. Patent No. 6,002,390 to Masui
•      U.S. Patent No. 6,085,206 to Domini et al.
•      U.S. Patent No. 6,377,965 to Hachamovitch et al.
•      U.S. Patent No. 6,405,060 to Schroeder et al.
•      U.S. Patent No. 6,583,798 to Hoek et al.
•      U.S. Patent No. 6,724,370 to Dutta et al.
•      U.S. Patent No. 7,030,863 to Longe et al.
•      U.S. Patent No. 7,098,896 to Kushler et al.
•      U.S. Patent No. 7,185,271 to Lee et al.
•      U.S. Patent No. 7,277,088 to Robinson et al.
•      U.S. Patent No. 7,296,019 to Chandrasekar et al.

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•   U.S. Patent No. 7,403,888 to Wang et al.
•   U.S. Patent No. 7,486,277 to Kong
•   U.S. Patent No. 7,584,093 to Potter et al.
•   U.S. Patent No. 7,584,426 to Chang et al.
•   U.S. Patent No. 7,599,828 to Fontenelle et al.
•   U.S. Patent No. 7,636,083 to Aoki et al.
•   U.S. Patent No. 7,996,589 to Schultz et al.
•   U.S. Patent No. 8,136,050 to Sacher et al.




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